Case 2:16-cr-00631-DAK Document 228-1 Filed 05/30/19 PagelD.3534 Page 1 of 6

ATTACHMENT A
 

Case 2:16-cr-00631-DAK Document 228-1 Filed 05/30/19 PagelD.3535 Page 2 of 6

Discovery Received 4/1/19

Discovery Received 5/28/19

 

Folder Name
Shamo\SHAMO CASE\Drew
CRANDALL\CRANDALL INSTAGRAM
For Review/Crandall/ CRANDALL MAC
MEMORY
For Review/Crandall/ CRANDALL MACBOOK
NEW
For Review\Crandall\CRANDALL Phone

For Review\Paz\L1_001_MAC LAPTOP, SN-
C1MJFPASDTY3

Shamo\SHAMO
CASE\PAZ\17MC00065\L1_002a_WD EXT
DRIVE, SN-WXA1C20F9091

Shamo\SHAMO
CASE\PAZ\17MC00065\L1_007a_TRANSCEN
D SDHC 32 GB

Shamo\SHAMO
CASE\PAZ\17MCO0065\L1_008a_SANDISK
EXTREME 256 GB

Shamo\SHAMO
CASE\PAZ\17MCO00065\L1_008b_SANDISK
EXTREME 256 GB

Shamo\SHAMO
CASE\PAZ\17MCO00065\L1_009a_USB
NECKLACE DRIVE

Shamo\SHAMO
CASE\PAZ\17MCO00065\L1_010a_USB
MEDIGAIN DRIVE

Shamo\SHAMO
CASE\PAZ\17MCO0065\L1_013a_SANDISK
SDHC CARD

Shamo\SHAMO
CASE\PAZ\17MCO0065\L1_016a_SANDISK
SD CARD 2GB

For Review\Paz\L1_017a_WD EXT DRIVE,
SN-WXE808DC1147

Shamo\SHAMO
CASE\PAZ\17MCO00065\L1_018a_COMPACT
DISC

Shamo\SHAMO
CASE\PAZ\17MCO0065\L1_018b_COMPACT
DISC 2

 

Size
331MB

3.99GB

163GB

| 79.4GB

| 465GB

244GB

| 21.3GB

 

16.9GB

‘| 12.96B

283GB

39.6M

773MB

1.52GB

92.3GB |

630MB

112MB

Folder Name | Size
CRANDALL INSTAGRAM 331MB
| CRANDALL MAC MEMORY | 3.99GB
|
CRANDALL MACBOOK NEW 163GB
CRANDALL PHONE | 79.4GB
Image, a | 2.83TB
17MC00065/L1_001_MAC 465GB
LAPTOP, SN-C1MJFPASDTY3 |
17MC00065/L1_002a_WD EXT 244GB
DRIVE, SN-WXA1C20F9091
|__
17MCO00065/L1_003a_SEAGATE = 1.61TB
EXT DRIVE, SN-N4KBZRP
17MCO00065/L1_007a_TRANSCEN | 21.3GB
D SDHC 32 GB
|
17MC00065/L1_008a SANDISK | 16.9GB |

EXTREME 256 GB

 

| 17MC00065/L1_008b SANDISK | 12.9GB_
EXTREME 256 GB |
|

 

| 17MC00065/L1_009a_USB 283MB
NECKLACE DRIVE
17MC00065/L1_010a_USB | 39.6M
MEDIGAIN DRIVE B
17MC00065/L1_013a SANDISK | 773MB

SDHC CARD

17MC00065/L1_016a_SANDISK SD | 1.52GB
CARD 2GB |

17MC00065/L1_017a_WDEXT _| 92.3GB
DRIVE, SN-WXE808DC1147 |
17MC00065/L1_018a_COMPACT | 630MB
DISC

| 17MC00065/L1_018b_ COMPACT | 112MB

| DISC 2

 

 
Case 2:16-cr-00631-DAK Document 228-1 Filed 05/30/19 PagelD.3536 Page 3 of 6

\For Review\Paz\L2_001a_ASUS LAPTOP,

SN-G8NOCY007852314

\For Review\Paz\L2_002a_MACBOOK PRO,

SN-CO2L220BFFT3 (ENCRYPTED)

Shamo\SHAMO

CASE\PAZ\17MCO0066\L2_008a_SANDISK

ULTRA 64 GB Micro SD Card

Shamo\SHAMO CASE\PAZ\17MC00067\HTC

Nexus One

Shamo\SHAMO CASE\PAZ\17MC00067\iPAD

Mini

For Review\Paz\L3_001a_MAC BOOK PRO,

SN-W800759Y66E_

Shamo\SHAMO

CASE\PAZ\17MC00067\L3_004a_SEAGATE,

SN-51DZGE06

Shamo\SHAMO

CASE\PAZ\17MC00067\L3_010_COMPACT

DISCS (5)

Shamo\SHAMO

CASE\PAZ\17MCO00067\L3_011a USB FLASH

DRIVE RED

Shamo\SHAMO

CASE\PAZ\17MCO00067\L3_012a_PNY 32 MB

CF CARD

Shamo\SHAMO

CASE\PAZ\17MC00067\L3_013a_PLAYSTATI
_ON 3 HARD DRIVE

Shamo\SHAMO

CASE\PAZ\17MCO0067\NOKIA 2760

For Review\Paz\SAMSUNG GT-N5110

For Review\Paz\SAMSUNG SCH-i515

For Review\Paz\SAMSUNG SM-N900V

 

   

(For Review\Pax\LukelPaz iMAC

yee ba ioe

TOTAL FOR (PAZ AND CRANDALL)

OTHER DISCOVERY RECEIVED

 

 

 

2.58GB

181GB

74.6GB

44.1GB

15GB

134GB

| 27.2GB

7.48GB

156MB

29.5M

51.3GB

| 4.44TB

| 17MC00067/NOKIA 2760 | -

| Ng00v

 

| 17MC00066/L2_001a_ASUS 2.58GB
| LAPTOP, SN-G8NOCY007852314
| 17MC00066/L2_002a MACBOOK | 181GB
PRO, SN-CO2L220BFFT3 |
17MCO00066/L2_008a_SANDISK | 74.6GB
ULTRA 64 GB Micro SD Card
17MC00067/HTC Nexus One 44.1GB
| 17MC00067/iPAD Mini 15GB
17MC00067/L3_001a_ MAC BOOK | 134GB
PRO, SN-W800759Y66E ||
| 17MC00067/L3_004a_ SEAGATE, § 27.2GB
| SN-51DZGE06
17MCO00067/L3_010 COMPACT __7.48GB
DISCS (5)
17MC00067/L3_011a_USBFLASH | 156MB
DRIVE RED
17MC00067/L3_012a_PNY32MB  29.5M
CF CARD B

 

|
17MC00067/L3_013a_PLAYSTATI | 51.3GB
| ON 3 HARD DRIVE |

| 17MCO00067/SAMSUNG GT-N5110 | 11.8GB
_17MC00067/SAMSUNG SCH-i515_ 52GB
| 17MCO00067/SAMSUNG SIV- | 91.3GB

| TOTAL FOR (PAZZ AND
CRANDALL)

 

 

 
Case 2:16-cr-00631-DAK Document 228-1 Filed 05/30/19 PagelD.3537 Page 4 of 6

ATTACHMENT B
vee"? Case 2:16-cr-00631-DAK Document 228-1 FRO CSISO/18 PAgelD.3538 Page 5 of 6

o
(S M , | | Kaytlin Beckett <kbeckett@schhlaw.com>

by Caogl:

Hard Drive

Kent Burggraaf <kburggraaf@agutah.gov> Wed, May 22, 2019 at 2:13 PM
To: Eric Wheeler <eric@trial-tech.com>, Kaytlin Beckett <kbeckett@schhlaw.com>

Cc: Daryl Sam <daryl.sam@gmail.com>, "Yvette Laughter, USAUT" <Yvette.Laughter@usdoj.gov>, Michael Gadd
<mgadd@agutah.gov>, "gskordas@schhlaw.com" <gskordas@schhlaw.com>, Dan Ashment
<Daniel.E.Ashment@ice.dhs.gov>

Yvette has located the drive provided to the defense this past December; it was returned as Kaitlyn mentioned. Yvette is
copying the folders titled “Drew CRANDALL” and “Paz”, with all the original contents provided on the borrowed hard drive
in December. The size of the two folders combined is around 1.98 terabytes. She'll notify Eric as soon as the copying is

complete.

[Kaitlyn, you might consider comparing that file size (1.98 TB) to the combined file size of those two same folders you
copied in December, and let us know if there is a major difference in file size (i.e., if we are wasting time giving you the
same files you already have and should be looking elsewhere for the E01 file(s) requested by Eric, if any). When copies
are made, typical copy/paste or drag/drop methods of copying will likely not copy over larger file(s), such as E01 files. We
suspect that was the method used when the files were copied from the borrowed hard drive in December to another
storage media by defense in December, which resulted in you not having the files that Eric has requested. When this
additional copy is provided, please use some form of verification or software to ensure you’re not missing or changing a
file(s) when copying from one hard drive to another. This will hopefully help us avoid any additional issues.]

Agent Ashment has clarified that there was not one large E01 file for Paz’s computer, but several smaller files (though still
large in size). The encrypted files provided were not encrypted by us (not by our agents or forensic examiners). While
we could not access them, we provided them in the interest of full transparency of what was found. In other words, they
were encrypted by the owner of the files prior to the devices being seized or turned over. We did not encrypt the files and
therefore cannot decrypt them without the password/key.

Regards,

Kent A. Burggraaf

Assistant Utah Attorney General
Special Assistant U.S. Attorney
Utah Attorney General's Office
348 E. South Temple

Salt Lake City, Utah 84111

(801) 349-7187

kburggraaf@agutah.gov

This email transmission from the Office of the Utah State Attorney General, contains information which may be
confidential and/or legally privileged. The information is intended only for the use of the individual or entity named on this
transmission. If you are not the intended recipient, you are hereby notified that any disclosure, copying, distribution or the
taking of any action in reliance on the contents of this email is strictly prohibited and that the email should be deleted

https://mail.google.com/mail/u/0?ik=7354202 1 Oc&view=pt&search=all&permmsgid=msg-f%3A 163426443261 8039032&simpl=msg-f%3A16342644326... 1/2
9/29/2018 Case 2:16-cr-00631-DAK Documetit ee °RiedcssOAPeageID.3539 Page 6 of 6
immediately. lf you have received this email in error, please notify us at knburggraaf@agutah.gov. The unauthorized

disclosure, use or publication of confidential or privileged information inadvertently transmitted to you may result in
criminal and/or civil liability.

[Quoted text hidden]

https://mail.google.com/mail/u/07ik=7354 2021 Oc&view=pt&search=all&permmsgid=msg-f%3A1634264432618039032&simpl=msg-f%3A16342644326... 2/2
